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 2
                                  UNITED STATES DISTRICT COURT
 3
                                           DISTRICT OF NEVADA
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 5
      Melvin Washington,                                    Case No. 2:23-cv-00910-GMN-DJA
 6
                             Plaintiffs,
 7                                                                                Order
            v.
 8
      Division of Welfare and Supportive Services –
 9    Nevada, Cambridge,
10                           Defendant.
11

12          On April 10, 2024, the Court noted that Plaintiff had not accomplished service within the
13   timeframe required under Federal Rule of Civil Procedure 4(m). (ECF No. 22). The Court noted
14   that Plaintiff had not extended the time to serve his complaint despite the Court’s prior order that
15   Plaintiff needed to effectuate service by October 26, 2023. (Id.). So, the Court ordered Plaintiff
16   to show cause on or before May 10, 2024 why the Court should not recommend dismissal of the
17   action for Plaintiff’s failure to serve his complaint on Defendant. (Id.).
18          On May 13, 2024, Plaintiff filed his response to the order to show cause. (ECF No. 23).
19   Plaintiff explains that he has been attempting to serve Defendant, but has struggled with the
20   process. (Id.). Although his response was late, the Court will not recommend dismissal of this
21   action. But it will require that Plaintiff accomplish service within thirty days.
22          Plaintiff explains that he believed that, simply by filing things in this case other parties
23   would be notified. While that is true, notification through the Court’s system is not the same as
24   the type of service required for summonses and complaints under Federal Rule of Civil Procedure
25   4. Generally, the summons and complaint must be served by personal service, not by mail and
26   not by the Court’s system. See Fed. R. Civ. P. 4(c)(2). Under Federal Rule of Civil Procedure
27   4(c)(2), the summons and complaint must be served on the defendant by a person who is at least
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 1   18 years old and not a party to the case. This means that Plaintiff cannot serve his own summons

 2   and complaint and that Plaintiff cannot serve the summons and complaint by mail.

 3          As outlined in the Court’s prior order, because Plaintiff is serving the State, someone

 4   other than Plaintiff must serve a copy of the summons and a copy of the complaint on: (1) the

 5   Attorney General or a person designated by the Attorney General to receive service of process at

 6   the Office of the Attorney General in Carson City; and (2) the person serving in the office of

 7   administration head of the named public entity, or an agent designated by the administrative head

 8   to receive service of process. See Nev. Rev. Stat. 41.031; see Nev. R. Civ. P. 4.2(d); see Fed. R.

 9   Civ. P. 4(j)(2)(B) (explaining that a state may be served by serving a copy of the summons and

10   complaint in the manner prescribed by that state’s law for serving a summons or like process on

11   such a defendant). After Plaintiff has accomplished service, Plaintiff must file proof of service on

12   the docket so that the Court knows Plaintiff has complied with this order.

13

14          IT IS THEREFORE ORDERED that the Court finds that Plaintiff has shown cause why

15   the Court should not recommend dismissal.

16          IT IS FURTHER ORDERED that Plaintiff shall have until July 29, 2024 to serve

17   Defendant. The Court will not further extend this deadline. Failure to comply with this order

18   may result in a recommendation of dismissal to the district judge.

19
20          DATED: June 28, 2024

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                                                          DANIEL J. ALBREGTS
23                                                        UNITED STATES MAGISTRATE JUDGE
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